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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF UTAH

CONSUMER FINANCIAL PROTECTION BUREAU,

PETITIONER,

VS.

NOTICE OF
SUPPLEMENTAL
AUTHORITY

CENTER FOR EXCELLENCE IN HIGHER EDUCATION, | CASE No. 2:19-CV-00877-

RESPONDENT.

DB-CMR

JUDGE DEE BENSON

MAGISTRATE JUDGE
CECILIA M. ROMERO

 

 
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NOTICE OF SUPPLEMENTAL AUTHORITY

Yesterday the Supreme Court issued its opinion in Sesla Law v. CFPB, No. 19-
7,591U.S. (2020). Writing for the Court, Chief Justice Roberts explained that
the CFPB’s structure violates the Constitution’s separation of powers and “inflicts
a ‘here-and-now’ injury” on parties subject to CFPB enforcement proceedings —
like this one involving Center for Excellence in Higher Education. Slip Op. at 10
(attached).

Aside from holding the removal provision severable from the statute creating
the CFPB, the Court did not resolve the remedy question. Chief Justice Roberts
noted that Seila Law sought a “straightforward remedy.” Jd. at 31. It asked the
Court to deny the petition to enforce the CID and dismiss the case, as CEHE does
here. But unlike this case, the CFPB asserted in Sei/a Law that the CID had already
been ratified by a removable CFPB Director. Although “initially issued by a
Director unconstitutionally insulated from removal,” the CFPB argued the CID
“can still be enforced on remand because it has since been ratified by an Acting
Director Accountable to the President.” Jd. But that raised “case-specific factual
and legal questions” the parties had not briefed—specifically, whether the alleged
ratification had occurred and, if so, whether it legally cured “the constitutional
defect in the original demand.” /d. (remanding to the circuit court to consider the
legal remedy).

Not so here. This case instead falls squarely under FEC v. NRA Political Victory

Fund, 6 F.3d 821 (D.C. Cir. 1993). CFPB’s unconstitutional structure “inflicts a

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here-and-now injury” that courts can remedy. Seda Law at 10; WRA Polttical Victory
Fund, 6 F.3d at 828. And unlike Seda Law or FEC v. LegiTech (on which CFPB
relied during the June 19 hearing) there are no case-specific factual or legal
questions left to be resolved. This Court has not been asked to consider whether a
prior ratification cured the constitutional defect. No prior ratification exists.

CFPB instead asks this Court to look the other way as it goes on inflicting its
“here-and-now injury” on CEHE on the possibility the Director might ratify this
enforcement proceeding. But the CFPB “lacks authority to bring this enforcement
action because its [structure] violates the Constitution’s separation of powers.”
NRA Political Victory Fund, 6 F.3d at 822. Simply put, CFPB’s actions to date in
this proceeding violate the Constitution. It now asks this Court to ignore that fact.
As the court in VRA Political Victory Fund confirmed, however, there is “no theory
that would permit [the Court] to declare the [CFPB’s] structure unconstitutional
without providing relief to the appellants in this case.” 6 F. 3d at 828.

Because the Supreme Court has held CFPB’s structure unconstitutional and
there is no live question whether CFPB’s ratification cured that defect (because no
ratification exists), this Court must deny the CID and dismiss the case.

Dated: June 30, 2020

SNELL & WILMER L.L.P.

 

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/s/ Jacob C. Shorter
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on June 30, 2020, I served the foregoing
document via the court’s CM/ECF electronic filing system to all counsel of record,

including the following:

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